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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    __________________________________________

    UNITED STATES OF AMERICA,
                                                                 5:06-CR-87-004 (NAM)
                                  Respondent,                    5:08-CV-685
           vs.

    DONNA JOHNSON,
                            Petitioner.
    __________________________________________

    Hon. Norman A. Mordue, Chief U.S. District Judge:
N




                                                 ORDER

           In a Memorandum-Decision and Order entered on August 27, 2008, the Court directed

    petitioner pro se Donna Johnson to file, within thirty days, an amended petition because she cited

    no facts, evidence, or procedural history in support of her request, pursuant to 28 U.S.C § 2255,

    for a “sentence reduction.” The Court warned that failure to do so would result in dismissal. To
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    date, Johnson has not filed an amended petition.

           As the Court previously indicated:

           a § 2255 petitioner may collaterally attack her sentence on very limited grounds.
           Indeed, a district court may only vacate or modify a sentence if the court “was without
           jurisdiction to impose such sentence, or that the sentence was in excess of the
           maximum authorized by law, or is otherwise subject to collateral attack.” United
           States v. Addonizio, 442 U.S. 178, 183 (1979). To be otherwise subject to collateral
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           attack, the sentence must suffer from an error of law that is either constitutional in
           magnitude or so fundamental as to result in a miscarriage of justice. See id.; Parsons
           v. United States, 919 F. Supp. 86, 88-89 (N.D.N.Y. 1996).

    Dkt. No. 135, pp.1-2. In this case, the petition identifies no ground which would warrant a

    reduction in petitioner’s sentence. Accordingly, the petition is dismissed.

           IT IS SO ORDERED.

           Date: October 24, 2008
